Case No. 1:49-cv-02782-MSK-CBS       Document 355-1         filed 11/15/13           USDC Colorado
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                                                               JAMES R.
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                                                      .                          CLERK                             ”'"
                                         IN THE UNITED STATES DISTRICT COURT                        A~~ ~-        ~t•'r
                                                                                            ~AfviKs rig Irii11
                                           FOR THE DISTRICT OF COLORADO                                          \Ji=i:hitC
                                                                                                                  CLERI{
                                                                           CONSOLIDATED CASES
                    UNITED STATES OF AMERICA v. NORTHERN           )
                    COIARADO WATER CONSERVA\'CY DISTRICT,          )          Civil No, 2782
                    et al,

                    IN THE 14SATTER OF THE ADJUDICATION OF
                    PRIORITIES OF SVATER RIGHTS Iiv MATER          )          C1~•31 *'o. ~0~5
                    BISTRIGT tv0. 36 FOR PURPOSES OF IRRIGATION    )

                    PETITIONERS: Tf{E COLORADO RIVER WATER         )
                    CONSERVATIOY DISTRICT, THE GRAYD VALLEY        )
                    WATER USERS ASSOCIATION, ORCHARD MESA          )
                    IRRIGATION DISTRICT, PALISADE IRRIGATION       )
                    COMPANY                                        1

                    IN THE MATTER OF THE ADJUDICATION OF
                    PRIORITIES OF HATER RIGHTS IN {VATER                      Civil No. 5017
                    DISTRICT N0. 36 FOR PURPOSES OTHER THAN
                    IRRIGATION

                    PETITIONERS: THE COIARAllO RIVER SVATER
                    CONSERVATION DISTRICT, THE GRAYD VALLEY
                    WATER USERS ASSOCIATION, ORCHARD MESA
                    IRRIGATION DISTRICT, PALISADE IRRIGATION
                    DISTRICT AND GRAND VALLEY IRRIGATION
                    COMPANY


                                      ORDER REGARDING rURTHER PROCEEDINGS
                                          CON30NANT WiTif T1tF. COLORADO
                                         WATER RIGHT DI:'I'~R6iINATION AND
                                          ADMINISTRATION ACT OF 1969


                        THZS ,btATTER came on for hearing on July 20, 1977 after
                                                                                            opportunity
                   given to interested parties to comment with respect to
                                                                          the subject               matter
                   of this Order, and particularly with respect to suggest
                                                                           ions made by the
                   City and County of Denver, acting by and through its Board
                                                                              of ;Vater
                   Commissioners, in its ~~114otion Regarding Compliance
                                                                             with Colorado Water
                   Right Determination and Administration Act o~ 1969,~~ and
                                                                             the Court noun
                   advised in the premises,

                        IT IS ORDERED:

                        i.   chapter 37, Article 92, of the 1973 publication
                                                                             of Colorado Statutes
                   will be hereinafter referred to as ~~the net of 19G9,~~
                                                                                 This Court mill act
                   as the Water Judge provided for by the 19G9 Act for lYater
                                                                                      Division Yo. 5
                  insofar as proceedings in connection with cases
                                                                  numbered 5016 and 5017                 are
                  concerned.   The Clerk of the Hater Court for 1Yater
                                                                           Division Yo. 5 of the
                  State of Colorado is hereby ordered to
                                                            perform those functions with
                                                                                                    respect


                                                          ` ~R~3'2~I~ A              EXHIBIT A

                                                                                                           r~
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                     to these ~roccedings required of said Clerk as if these proceedings remained

                     before the Water Judge of ~Yater Division No, 5.       In addition to any records

                     or requirements for publishing, distributing, or otherwise acting with

                     respect to such proceedings before this Court, the ~Yater Clerk for Water

                     Division No. 5 will do all those things required by the 19G9 Act and, in

                     addition, shall furnish to this Court two copies of all papers filed in

                     the office of the Water Clerk of water Division No. 5 relating to these

                     cases, together with two copies of any resume or other publication with

                     certificate of publication with respect to matters pertaining to such

                     proceedings in the office of the Clerk of the United States District Court

                     for Colorado at Denver, Colorado.

                          2.   Any party interested in such proceedings will hereafter take such

                     steps as desired by such party with respect to said cases in accordance

                     with this Order and those procedural requirements of the Act of 1969 as are

                     required for jurisdiction under the Act by making 1ny necessary filing in

                     the office of the ~Yater Clerk of Water Division Ho, 5 and also a filing of

                     two copies of every paper filed in the office of said Water Clerk in the

                     office of the Clerk of the District Court of the United States District

                     Court for Colorado at Denver, Colorado.      A11 proceedings arising under

                     cases numbered 5016 and 5017 pursuant to the initiation o£ action by any

                     party shall be before the Judge of said United States District Court without

                     reference to any referee and any matter which the Act of 1969 automatically

                     refers to a referee is hereby ordered re-referred to ttie judge of this

                     court to which said cases are assigned.

                          3.   All action by this court iri cases numbered 5016 and 5017 which

                     requires implementation by an officer or employee of the State of Colorado

                     will be made effective through filing of the terms of such action with the

                     Clerk of the Water Court of Nater Division No. 5 of the State of Colorado

                     or such other officer or employee of said state as appropriate or required

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                          4.   The proceedings referred to herein shall be limited to those

                     matters relating to the Filing of applications for quadrennial showing of

                     due diligence and applications for making absolute conditional decrees or

                     portions thereof.

                          DATED at Denver, Colorado, this l~L'~~' day of August, 1977.

                                                       BY TfiE COURT:




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                                                       United Stites Di:;trict Court
